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                                     EXHIBIT C
                                     Bank Accounts




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                                             Bank Accounts

          Bank                      Account Holder            Account No.         Type of Account

   Bank Leumi, USA             CarbonLite Industries, LLC        *8500         DIP ABL Loan Lockbox

   Bank Leumi, USA             CarbonLite Industries, LLC        *2801              Disbursement

   Bank Leumi, USA             PinnPack Packaging, LLC           *4801         DIP ABL Loan Lockbox

   Bank Leumi, USA             PinnPack Packaging, LLC           *2900              Disbursement

   Bank Leumi, USA             CarbonLite Recycling LLC          *8900              Disbursement

   Bank Leumi, USA             CarbonLite Holdings LLC           *7201         Depository/Disbursement

   Bank Leumi, USA             CarbonLite Holdings LLC           *9301         DIP Term Loan Proceeds

    East West Bank                 CarbonLite P, LLC             *4592             Restricted – LC
                                                                                     Collateral

Israel Discount Bank of        CarbonLite Recycling, LLC         *1461             Restricted – LC
       New York                                                                      Collateral

M&T Bank Corporation               CarbonLite P, LLC             *4155              Disbursement

 Pacific Western Bank          CarbonLite Industries, LLC        *0727                Depository

 Pacific Western Bank              CarbonLite P, LLC             *3525         Depository/Disbursement

 Pacific Western Bank              CarbonLite P, LLC             *9368                 Inactive

 Pacific Western Bank          CarbonLite Recycling LLC          *3707         Depository/Disbursement

 Pacific Western Bank          CarbonLite Recycling LLC          *5856                 Inactive

 Pacific Western Bank          CarbonLite Holdings LLC           *2405         Depository/Disbursement

       UMB Bank                    CarbonLite P, LLC             *0570         Restricted – Debt Service
                                                                                 Master Account and
                                                                                Subaccounts; (inactive)
                                                                                     Disbursement

       UMB Bank               CarbonLite Recycling LLC           *5229         Restricted – Debt Service
                                                                               Reserve Master Account
                                                                                  and Subaccounts;
                                                                               (inactive) Disbursement




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